                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  NO: 5:05CR9

UNITED STATES OF AMERICA,           )
          Plaintiff                 )
                                    )
vs.                                 )                                ORDER
                                    )
CORTNEY SIRRON PFIFER,              )
            Defendant.              )
                                    )
___________________________________ )

       THIS MATTER IS BEFORE THE COURT on the “Motion to Conduct Inquiry of

Defendant Regarding Defense Counsel’s Conflict of Interest ...” (Document No. 276), filed August

1, 2005 by the United States with respect to Cortney Sirron Pfifer. In the Motion, the United States

asks the Court to conduct a hearing prior to the commencement of trial and/or change of plea in order

to assure that Mr. Pfifer is aware of allegations against his attorney of record, Kenneth Darty, and

his right to representation by conflict-free counsel. Because the Court has already scheduled an

inquiry into the status of counsel for August 11, 2005 at 9:30 A.M. in front of the Honorable

Carl Horn, III, the undersigned will deny the Motion as moot.

       IT IS, THEREFORE, ORDERED that the “Motion to Conduct Inquiry of Defendant

Regarding Defense Counsel’s Conflict of Interest ...” (Document No. 276) is hereby DENIED AS

MOOT.




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                        Signed: August 8, 2005




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